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                          UNITED STATES DISTRICT COURT
                            DISTRICT OF CONNECTICUT

RANDY WEINBERG,                              :
    Plaintiff,                               :                 CIVIL CASE NO.
                                             :                 3:21-CV-00155 (JCH)
v.                                           :
                                             :
STATE OF CONNECTICUT                         :
DEPARTMENT OF REVENUE,                       :                 NOVEMBER 3, 2021
SERVICES AND MARK D. BOUGHTON,               :
     Defendants.                             :

     ORDER REGARDING DEFENDANTS’ MOTION TO DISMISS (DOC. NO. 20)

       Plaintiff Randy Weinberg brought this action on February 5, 2021, seeking, inter

alia, a declaratory judgment that Conn. Gen. Stat. section 12-651 is unconstitutional and

a permanent injunction enjoining defendants “from trying to collect any sum assessed

against the Plaintiff in any fashion” under the same statute. Compl. at ¶ 41 (Doc. No.

1). Defendants subsequently moved to dismiss the Complaint in its entirety. See Mot.

to Dismiss (Doc. No. 20). Plaintiff opposed that Motion, see Mem. of Law in Opp’n to

the Defs.’ Mot. to Dismiss (Doc. No. 21), and defendants filed a Reply on April 29, 2021.

See Reply Brief in Supp. of the Defs.’ Mot. to Dismiss (Doc. No. 23).

       Subsequently, on June 22, 2021, Governor Lamont signed into law June Special

Session, Public Act No. 21-1. See generally C.G.S.A., June Sp. Sess., P.A. 21-1; Press

Release, Governor Ned Lamont, Governor Lamont Signs Bill Legalizing and Safely

Regulating Adult-Use Cannabis (June 22, 2021), https://portal.ct.gov/office-of-the-

governor/news/press-releases/2021/06-2021/governor-lamont-signs-bill-legalizing-and-

safely-regulating-adult-use-cannabis. Section 173 of the Act repealed “[s]ections 12-

651 to 12-660, inclusive . . . of the [Connecticut] general statutes.” C.G.S.A., June Sp.




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Sess., P.A. 21-1, § 173. In addition, section 130 of the Act repealed section 12-650 of

the general statutes and substituted the following in lieu thereof:

       Notwithstanding the provisions of this chapter, revision of 1958, revised to
       January 1, 2021, any outstanding liabilities or assessments, or any portion
       thereof, made under said chapter related to the sale, purchase, acquisition
       or possession within the state or the transport or importation into the state,
       of marijuana, as defined in section 21a-240, shall be cancelled. The
       Commissioner of Revenue Services may take any action necessary to
       effectuate the cancellation of such liabilities and assessments. No
       cancellation of a liability or an assessment pursuant to this section shall
       entitle any person affected by such cancellation to a refund or credit of any
       amount previously paid or collected in connection with such liability or
       assessment.

Id. at § 130. Both these changes were effective as of July 1, 2021.

       In light of this change of law, the parties are directed to file a Joint Status Report

within 21 days of the date of this Order. The Report should address any change in the

parties’ positions, e.g., if the case is moot in whole or in part, caused by the change in

law.


SO ORDERED.

       Dated at New Haven, Connecticut this 3rd day of November 2021.



                                                  /s/ Janet C. Hall
                                                  Janet C. Hall
                                                  United States District Judge




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